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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re:
Chapter 11
PARAGON OFFSHORE PLC,
Case No. 16-10386 (CSS)
Debtor.

 

PARAGON LITIGATION TRUST,
Plaintiff,

¥. Adv. Pro. No. 17-51882 (CSS)
NOBLE CORPORATION PLC, NOBLE
CORPORATION HOLDINGS LTD, NOBLE
CORPORATION, NOBLE HOLDING Ref. Ady. Docket Nos. 56, 166,
INTERNATIONAL (LUXEMBOURG) S.a rl, and 170

NOBLE HOLDING INTERNATIONAL
(LUXEMBOURG NHIL) $.a1.., NOBLE FDR
HOLDINGS LIMITED, MICHAEL A. CAWLEY,
JULIE H. EDWARDS, GORDON T. HALL, JON A.
MARSHALL, JAMES A. MACLENNAN, MARY P.
RICCIARDELLO, JULIE J. ROBERTSON, and
DAVID WILLIAMS,

 

Defendants.

 

ORDER GRANTING PLAINTIFF’S REQUEST TO AMEND CERTAIN
DEADLINES IN THE MAY 8, 2018 SCHEDULING ORDER

Upon consideration of Plaintiff's February 26, 2019 letter requesting amendments
to certain deadlines in the May 8, 2018 Scheduling Order [Docket No. 166] (the “Request to
Amend the Scheduling Order”) and the above-captioned Defendants’ March 13, 2019 letter
[Docket No. 170]; and upon the representations made by the parties during the March 20, 2019
scheduling conference; and after due deliberation and sufficient cause appearing therefor,

IT IS HEREBY ORDERED that:

l. The Request to Amend the Scheduling Order is GRANTED.
 

 

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2. The deadlines in the May 8, 2018 Scheduling Order [Docket No. 56] are amended

 

 

 

 

 

as follows:
Event Prior Deadline Amended Deadline
Fact Discovery Cut Off (J 4(a)) April 3, 2019 October 3, 2019
Amended Pleadings (J 6) May 13, 2019 November 13, 2019
Plaintiff's Expert Reports ({ 8(a)) May 16, 2019 November 25, 2019
Defendants’ Expert Reports ({ 8(b)) July 2, 2019 January 16, 2020

 

Plaintiff's Rebuttal Reports (q 8(c))

August 6, 2019

February 20, 2020

 

Expert Discovery Cut Off (J 8(d))

September 5, 2019

March 17, 2020

 

Dispositive and Daubert Motions ({ 9)

October 4, 2019

April 20, 2020

 

 

 

 

 

Dispositive and Daubert Motion October 25, 2019 May 11, 2020
Responses ({ 9)
Dispositive and Daubert Motion November 8, 2019 May 26, 2020
Replies ({ 9)

 

3. Other the deadlines in the May 8, 2018 Scheduling Order changed herein, the

terms of the original scheduling order remain unchanged by this amended order.

ad

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